         Case 1:14-cv-00953-TNM Document 232 Filed 02/28/19 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
ADVANCE AMERICA, CASH ADVANCE             )
CENTERS INC., et al.,                     )
                                          )
      Plaintiffs,                         )                   CIVIL ACTION
                                          )
      v.                                  )
                                          )                   Case No. 14-953 (TNM)
FEDERAL DEPOSIT INSURANCE                 )
CORPORATION, et al.,                      )
                                          )
      Defendants.                         )
__________________________________________)

                                  JOINT STATUS REPORT

       The court has referred this matter to the D.C. Circuit Mediation Program, and pursuant to

the Court’s Minute Order of September 7, 2018, the parties submit this Joint Status Report

regarding the status of the mediation.

       The parties have met, both separately and jointly, with the court-appointed mediators, and

a mediation has been scheduled for March 6 and 7. The parties request leave to file a Joint Status

Report no later than March 29, 2019, to advise the Court further about the progress of settlement

discussions.

                                         Respectfully submitted,

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Case 1:14-cv-00953-TNM Document 232 Filed 02/28/19 Page 2 of 2



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                                2
